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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

 

PLAINTIFF : Civil Action No.:

NANCY HUFF
605A Madison Drive
Monroe Township, New Jersey 08831

vs.
DEFENDANTS

HARRISON GROUP HALE & JOHN : COMPLAINT
HARRISON PARTNERSHIP, d/b/a DOUBLETREE:

by HILTON OCEAN CITY OCEANFRONT :

HOTEL, JOHN DOE 1-10, AND ABC CORP. 1-10 :

106 North Baltimore Avenue :

Ocean City, Maryland 21842

 

Plaintiffs, Nancy Huff, a resident of Monroe Township, New Jersey, by way of Complaint against
the Defendants above says:
JURISDICTION

1, This Court has diversity jurisdiction over this action pursuant to 28 U.S.C. § 1332(a) as
the amount in controversy in this personal injury action exceeds $75,000. Plaintiff is an
individual residing and doing business in the State of New Jersey and County of
Middlesex. As set forth below, the Defendant is a Maryland entity organized pursuant to
and with a principal place of business located in the State of Maryland.

VENUE

2. As the Defendant is a corporate entity organized pursuant to the laws of the State of

Maryland, The United States District Court for the District of Maryland is the appropriate

venue pursuant to 28 U.S.C. § 1391(b)(1).
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FIRST COUNT
NEGLIGENCE

Upon information and belief, Defendant HARRISON GROUP HALE & JOHN
HARRISON PARTNERSHIP d/b/a Doubletree by Hilton Ocean City Oceanfront Hotel
(Harrison), is an entity organized pursuant to the laws of the State of Maryland or one of the
several states, which owns, leases, operates, maintains, manages or otherwise controls
premises located at 3301 Atlantic Avenue, Ocean City, Maryland, and more commonly
known as the Doubletree by Hilton Ocean City Oceanfront Hotel (Doubletree).

Defendants JOHN DOE 1-10 and ABC CORP 1-10 are unknown individuals or entities,
which are presently unable to be identified, which own, lease, operate, maintain, manage or
otherwise controls premises located at 3301 Atlantic Avenue, Ocean City, Maryland, and
more commonly known as the Doubletree by Hilton Ocean City Oceanfront Hotel.

On or about May 23, 2019, Plaintiff Huff was a business invitee at the Doubletree, and was
lawfully on premises owned, leased, operated, maintained, managed or otherwise controlled
by Defendants Harrison, John Doe 1-10 and/or ABC Corp 1-10, located at or near 3301
Atlantic Avenue, Ocean City, Maryland.

At the time and place aforesaid, Defendant Harrison was responsible for the maintenance,
landscaping, and upkeep at the aforementioned property.

At the time and place aforesaid, Defendants John Doe 1-10 and/or ABC Corp. 1-10, were
responsible for the maintenance, landscaping and upkeep at the aforementioned property on
behalf of Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10.

The Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10 negligently created a
dangerous condition on the aforementioned property causing Plaintiff to fall and sustain

serious and permanent personal injuries.
10.

11.

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The Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10 negligently failed to
inspect the property to discover and correct the dangerous condition thereof.

The Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10 had actual or
constructive knowledge in sufficient time of the dangerous condition of the property, to take
proper precautions to protect against the dangerous condition.

The Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10 negligently failed to
warn the Plaintiff of the dangerous condition of the premises.

The Defendants Harrison and John Doe 1-10 and/or ABC Corp 1-10 owed a duty of care to
the Plaintiff, as outlined above.

As a direct and proximate result of the negligence of the Defendants aforesaid, and breach of
their duty of care to the Plaintiff, Nancy Huff sustained serious and permanent personal
injuries, has suffered and will in the future suffer great pain, has incurred and will in the
future incur expenses to cure and alleviate her said injuries, and has been and will be
prevented from pursing her normal activities and occupation resulting in a loss of income.

WHEREFORE, Plaintiff Nancy Huff demands Judgment against the Defendants, Harrison

and John Doe 1-10 and/or ABC Corp 1-10 for damages together with interest and costs of suit.

CERTIFICATION

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my

knowledge, information, and belief that this complaint: (1) is not being presented for an improper

purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2)

is supported by existing law or by a nonfrivolous argument for extending, modifying, or reversing

existing law; (3) the factual contentions have evidentiary support or, if specifically so identified, will

likely have evidentiary support after a reasonable opportunity for further investigation or discovery;
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and (4) the complaint otherwise complies with the requirements of Rule 11.
DESIGNATION OF TRIAL COUNSEL
Neil Dubovsky, Esq. is hereby designated as trial counsel for the Plaintiff, Nancy Huff.
JURY DEMAND

Plaintiffs hereby demand a jury trial as to all issues raised in the foregoing Complaint.

Respectfully submitted,

 

 

Dated: March 22022 Neil Dubovsky, Esq.
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